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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

THOMAS PATTERSON,                  )
                                   )
           Plaintiff,              )
                                   )  Case No.: 20-cv-688 JPG
vs.                                )
                                   )
LIFE INSURANCE COMPANY OF          )
NORTH AMERICA d/b/a CIGNA, et al., )
                                   )
                           NOTICE OF APPEAL
       Notice is hereby given that Plaintiff Thomas Patterson appeals to the United States Court

of Appeals for the Seventh Circuit from the final judgment entered in this action on the 29th day

of November, 2021,      the Court’s Memorandum and Order dated March 9, 2021 and the

Memorandum and Order dated June 16, 2021.



                                                    GALLAGHER DAVIS, L.L.P.

                                                    /s/ Matthew R. Davis
                                                    Matthew R. Davis
                                                    Adam J. Olszeski
                                                    2333 S. Hanley Road
                                                    St. Louis, Missouri 63144
                                                    (314) 725-1780
                                                    Fax: (314) 725-0101
                                                    matt@gallagherdavis.com
                                                    adam@gallagherdavis.com
                                                    Attorneys for Plaintiff


                                   CERTIFICATE OF SERVICE
       The undersigned counsel hereby certifies that on December 21, 2021 a copy of the
foregoing was served via the Court’s electronic filing system, upon all counsel of record.

                                                /s/Matthew R. Davis



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